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Catherine Kaetz
437 Abbott Rd
Paramus NJ, 07652

11 23 20

Re: William Kaetz



To Whom It May Concern:

         I am the daughter of William Kaetz.
He took me in when I was having a hard times. He gave me a job and taught me how to use
power tools. This sparked my journey towards Millwork. He also taught me phrases of life to
live by, and introduced me to the gym and now I am the fittest I have been, besides some
setbacks from Corona. He has made my life better.
          Even as a dad, as you know, had some complications in his past that ended in divorce.
We lost connection for many years. I finally was starting to connect with him as a daughter,
talking about spirituality, likes and dislikes, his past, my past. Doing this together like going out
to dinner and went to a lecture about bee keeping and planned on going to an apiary but
corona hit.
         He is very workout oriented because it is not only good for the body, but the mind and
soul too. I found it to be the same for me. They enjoyed him there, specially since he has been
going for over 10 years. He even ran the NYC Marathon. He was encouraging, fun, and did many
of the fundraiser/awareness events. It was a tragedy this outlet, mediation, stopped abruptly.
We both tried to keep going but it isn’t the same without the group there with you.
         He is extremely thorough with work. He shows up early, go over the plans, work to be
done, who to talk to, ect. He is very skilled in everything from materials to how it’s built to
problem solving. During our work times together he taught me “it’s all in the set-up”, to keep
my cool during frustrations, and “go the extra mile” even if it ended up being hours or days past
the expectation of the job. Everyone from that company, Commercial Décor Group, could
always count on him for a job beyond well done.
         He always envisioned more in life, starting his own business again, traveling to ancient
places for it’s rich history, owning a house in the country with land and a dog. He loves nature
and animals, even wants his own a mini apiary in the backyard. He always thought money was
the reason he couldn’t do these things. One reason for these lawsuits, if won, is for that future.
         Yes, he is passionate about the constitution. What person isn’t passionate about
somethings? Politics is politics, in this time it is scarce to find people in the middle. He is a
constitutionalist and we have talk about it and he gets a bit heated on the subject. Though
truly, whatever the constitution says, for either side, is the backbone of his stance. His words
come from the constitution itself, law itself, and mean no physical harm, only judicial.




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        Corona hit all of us hard. The drastic change of life, routine, jobs, hobbies, sociability and
our outlets of our emotions that made us go through our lives more peacefully. Isolation has
effects on the psyche. It’s been difficult to keep that inner peace and balance.


Sincerely,
Catherine Kaetz
570 517 1277
catkaetz@gmail.com




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